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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

 UNITED STATES OF AMERICA                                 §
                                                          §
      Plaintiff,                                          §
                                                          §
 v.                                                       §   Criminal Action No. 4:22-CR-00371-O
                                                          §
 LACIE REBEKAH WHISENANT                          (01)    §
 HAI MINH BUI                                     (02)    §
                                                          §
      Defendants.                                         §


                          ORDER SETTING SCHEDULE FOR SENTENCING

        The schedule for sentencing the defendant in this case and all necessary events and requirements
prior to the defendant’s sentencing are set out below.

        1.    The probation officer shall conduct a presentence investigation and prepare a presentence
report (“PSR”).

       2.      Counsel for the defendant shall be present at the initial interview between the defendant
and the probation officer (with recent familiarity with U.S.S.G. § 3E1.1, application note 1(a)) and,
within three (3) government working days from the date of this order, shall schedule the interview
with the probation officer assigned to prepare the PSR.

        3.      Counsel for United States of America, within five (5) government working days of this
order, shall deliver to the probation officer a written report setting out with specificity:

                   a. all information possessed by the office of the United States Attorney for the Northern
                      District of Texas that is relevant to (i) the sentencing of the defendant or (ii) the
                      acceptability of the plea agreement, if any, including, but not limited to:

                          (1)     all criminal history of the defendant;
                          (2)     all criminal conduct of the defendant (whether or not charged) occurring
                          at any time;
                          (3)     all statements made by the defendant (including transcripts that already
                          have been made of recorded statements) and all other notes, memos, or other
                          writings pertaining to any statement made by the defendant;
                          (4)     all investigative reports pertaining to the offense of conviction and to
                          relevant conduct; and

                   b. if the defendant was convicted after trial, a written summary of any evidence presented
                       at trial not cumulative of the information provided pursuant to 3.a., above, and that is
                       relevant to the sentencing of the defendant including especially, but not limited to,
                       evidence that the defendant obstructed justice and evidence of relevant conduct; and
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                  c. in any case in which restitution can be ordered under 18 U.S.C. § 3663 or 18 U.S.C. §
                      3663A as a result of the defendant’s criminal conduct, to the extent known to the
                      government, the full names of all identified victims of defendant’s criminal conduct
                      for which restitution can be ordered, the amount of loss subject to restitution for each
                      identified victim, each identified victim’s complete address, and each identified
                      victim’s telephone number; provided, however, that all information provided to the
                      probation officer pursuant to this paragraph is confidential and for the exclusive use of
                      that office and this Court.

        4.     If, during the presentence investigation, it is determined that Texas
Youth Commission (“TYC”) records are needed, the Court orders the TYC to release these records to
the Probation Officer assigned to prepare the PSR, acting in the performance of the officer’s official
duties pursuant to Federal Rule of Criminal Procedure 32. The specific records that are to be released
include documents pertaining to the defendant’s social history, court disposition records, substance
abuse treatment records, psychological evaluations, other mental health treatment records, educational
records, general health records, adjustment while incarcerated records, and release dates from the TYC.
All information provided to the probation officer pursuant to this paragraph is confidential and for the
exclusive use of that office and this Court.

       5.     The probation officer shall deliver the PSR to the Court, and provide copies to the
defendant and counsel for the parties, no later than May 11, 2023.

       6.      Written objections to the PSR in the form illustrated in Exhibit A attached hereto, or
written notice of no objections, shall be filed and delivered to the Court, the probation officer, and
counsel for the parties no later than May 25, 2023.

       7.      A written response to the opposing party’s objections to the PSR shall be electronically
filed with the clerk of Court and a judge’s copy delivered to the clerk’s office no later than June 1,
2023.

        8.      If written objections to the PSR have been timely filed, the probation officer shall
electronically file an addendum to the presentence report and deliver a judge’s copy to the clerk’s office
no later than June 8, 2023.

        9.      Each party shall deliver to the Court, the probation officer, and counsel for the parties no
later than June 8, 2023, any other item the party wishes the Court to consider in connection with
sentencing, including sentencing memoranda, character letters, and victim statements.1 No sentencing
memorandum will be longer than 25 pages in length. All character letters and victim statements written
in a foreign language must be translated into English prior to submission to the Court. At the sentencing,
the Court will hear from no more than 3 character witnesses on defendant’s behalf.

        10.     Any motion for a sentence above or below the advisory guideline range set out in the PSR
shall be filed with the district clerk, a copy of the motion shall be delivered to the clerk’s office, and a



            1   Character letters and victim statements are not to be filed (manually or electronically) with the clerk
of Court.
                                                           2
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copy shall be delivered to the probation officer no later than June 8, 2023.2 Such a motion and any
response thereto may be filed under seal without being accompanied by a motion to seal so long as the
motion for departure (or the response thereto) contains in its title the notation, “UNDER SEAL
PURSUANT TO SCHEDULING ORDER.”3

        11.      Any party served with a motion for upward departure or downward departure or
sentencing memorandum or a request for sentencing variance shall electronically file a response with
the district clerk and a judge’s copy shall be delivered to the clerk’s office no later than June 15, 2023.

         12. Written objections to the addendum to the PSR, or written notice of no objections, shall
be filed and delivered to the Court, the probation officer, and counsel for the parties no later than June
15, 2023.

       13.   The sentencing hearing is set for July 7, 2023 at 9:00 am in Fort Worth, Texas, 2nd
Floor Courtroom.

        14.    The parties must be prepared at the sentencing hearing to present evidence, arguments,
and legal authorities related to any factual or legal issues that are raised by the PSR or any addendum
thereto or any objection to either.

        15.   All motions and responses to motions any party wishes the Court to consider in
connection with any sentencing matter shall be filed with the clerk of Court. If a party desires the sealing
of any such motion or response, the heading of the instrument must state that the document is being filed
“under seal” and, except as set out in numbered paragraph 10, above, be accompanied by a motion to
seal.
        SO ORDERED on this March 22, 2023.



                                 _____________________________________
                                 Reed O’Connor
                                 UNITED STATES DISTRICT JUDGE




            2   Any party moving for a sentence above or below the advisory guideline range must set out in detail
the facts that support such motion. The party must also clearly indicate whether the party is seeking an upward
or downward departure under Chapters Four or Five of the United States Sentencing Guidelines or is seeking a
sentence outside the guidelines regime under 18 U.S.C. §3553(a), or both. If the party is seeking a sentence under
subsection (a) of § 3553, the party must identify the paragraphs and subparagraphs of subsection (a) that the facts
implicate in support of a sentence above or below the advisory guideline range and demonstrate in detail how they
do so.
             3 Motions for a sentence above or below the advisory guideline range filed under seal may be filed

electronically pursuant to Local Criminal Rule 55.3.
                                                         3
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 UNITED STATES OF AMERICA                                §
                                                         §
      Plaintiff,                                         §
                                                         §
 v.                                                      §   Criminal Action No. 4:22-CR-00371-O
                                                         §
 LACIE REBEKAH WHISENANT                         (01)    §
 HAI MINH BUI                                    (02)    §
                                                         §
      Defendants.                                        §

                    OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

         COMES NOW, JOHN DOE, defendant, by and through his attorney of record, Jane Doe, and hereby

submits these written objections to the presentence investigation report (PSR) dated January 3, 1994, as

prepared by U.S. Probation Officer, Don Smith, and shows as follows:

OBJECTION NO. 1:

         Defendant objects to paragraph 10 on page 3 of the PSR because . . . .

OBJECTION NO. 2:

         Defendant objects to paragraph 25 on page 7 of the PSR because . . . .

         WHEREFORE, Defendant respectfully submits these written objections to the presentence

investigation report and requests the Court to sustain the objections and to grant such other and further relief

as may be warranted.

                                                Respectfully submitted,

                                                Jane Doe
                                                State Bar No. 00000000
                                                FIRM NAME
                                                ADDRESS
                                                TELEPHONE NUMBER
                                                Attorney for John Doe

                                               EXHIBIT “A”
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                                   CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing Defendant’s Written
Objections to Presentence Investigation Report have been served upon the Assistant U.S. Attorney and
U.S. Probation Officer on this the _____ day of __________, «obj_psr_due \@ yyyy».




                                                      _______________________________
                                                      Jane Doe




                                          EXHIBIT “A”
